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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

                  Plaintiff,
                                                            Case No. 1:25-cv-11048-ADB
       v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

                  Defendants.


    ASSENTED-TO MOTION OF THE CONFERENCE OF BOSTON TEACHING
   HOSPITALS, INC. FOR LEAVE TO FILE MEMORANDUM AS AMICUS CURIAE
      IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to the Court’s April 29, 2025 Scheduling Order, non-party the Conference of

Boston Teaching Hospitals, Inc. (“COBTH”) hereby moves for leave of Court to file the

enclosed Memorandum as Amicus Curiae in Support of Plaintiff’s Motion for Summary

Judgment. In support of this Motion, COBTH states as follows:

       1.      Federal district courts have “inherent authority” to accept amicus briefs. Students

for Fair Admissions v. President and Fellows of Harvard College, 2018 WL 9963511, at *1 (D.

Mass. Oct. 3, 2018) (Burroughs, J.); Boston Gas Co. v. Century Indem. Co., 2006 WL 1738312,

at *1 n.1 (D. Mass. June 21, 2006) (accepting amicus brief from Complex Insurance Claims

Litigation Association).

       2.      District courts “frequently welcome amicus briefs from non-parties concerning

legal issues that have potential ramifications beyond the parties directly involved.” NGV

Gaming, Ltd. v. Upstream Point Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005); see

Doe v. Trump, 2025 WL 485070, at *1 n.2 (D. Mass. Feb. 13, 2025) (accepting amicus briefs

from five groups and one individual in challenge to President’s Executive Order).
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       3.      Courts especially welcome amicus briefs when the amicus offers a “perspective

that can help the court beyond the help that the lawyers for the parties are able to provide.” Ryan

v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997); see, e.g., Sec. &

Exch. Comm’n v. Cetera Advisors LLC, 2020 WL 13470960, at *2 (D. Colo. Aug. 25, 2020)

(amicus trade organization offered “unique information and perspective” that was helpful to the

court); C & A Carbone, Inc. v. Cnty. Of Rockland, 2014 WL 1202699, at *4 (S.D.N.Y. Mar. 24,

2014) (“Amici’s insights . . . helps ensure that there has been ‘a complete and plenary

presentation of difficult issues so that the court may reach a proper decision.’”)

       4.      In the proposed Amicus Memorandum (attached as Exhibit A), COBTH provides

its unique perspective on how the government’s terminations will have the consequence of

threatening the Hospitals’ work to continually advance medical science. COBTH explains how

the discovery and advance of new treatments and cures depend on federally funded research, and

why the balance of equities and public interest strongly weigh in favor of continued funding.

       5.      COBTH is a non-profit organization dedicated to supporting the mission of all

twelve Boston-area teaching hospitals (the “Hospitals”). Beyond supporting the Hospitals’

missions to provide world-class clinical care, train the next generation of physicians, and respond

to the public health needs of our community, COBTH plays a vital role in advancing the

Hospitals’ clinical research programs, which work every day to discover and advance new

treatments and cures.

       6.      From this first-hand perspective, COBTH can bring to the Court’s attention—

beyond the arguments of the parties—how the sudden termination of federal funding for

biomedical research to Harvard will have the unintended, yet real consequence, of damaging the

foundation upon which the Hospitals develop medical breakthroughs for their patients.




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       7.      The proposed Amicus Memorandum explains that—although the Hospitals are

independent of the universities and medical schools they support—terminating funding for basic

science and biomedical research at universities, medical schools, and schools of public health

threatens the Hospitals’ vital work in discovering and advancing new treatments and cures

because (1) hospital-based clinical breakthroughs often build upon federally funded basic science

research at universities, and (2) federal funding to universities indirectly supports important

hospital-based clinical research studies.

       8.      The Court should grant COBTH leave to file the Amicus Memorandum, which

offers a perspective beyond that of Plaintiff, about the specific effects that drastic cuts in federal

funding to Harvard will have on the discovery and advancement of new treatments and cures for

disease in Boston’s teaching hospitals.

       9.      Pursuant to the April 29, 2025 Order, the proposed Amicus Memorandum does

not exceed 10 pages.

       10.     Counsel for Plaintiff and Defendants assent to this Motion.

               WHEREFORE, COBTH respectfully requests that the Court grant leave to file the

attached Memorandum as Amicus Curiae in Support of Plaintiff’s Motion for Summary

Judgment.




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June 6, 2025                                  Respectfully submitted,

                                              /s/ Eric M. Gold
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                                              Counsel for
                                              Conference of Boston Teaching Hospitals, Inc.



                            LOCAL RULE 7.1 CERTIFICATION

        I certify that I conferred with counsel for Plaintiff and counsel for Defendants. Counsel
for Plaintiff and Defendants assent to this Motion.

                                                     /s/ Eric M. Gold
                                                     Eric M. Gold



                                 CERTIFICATE OF SERVICE

        I hereby certify that, on June 6, 2025, I caused a true and correct copy of the foregoing to
be filed via the Court’s ECF system, which will send notice to all counsel of record.

                                                     /s/ Eric M. Gold
                                                     Eric M. Gold




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